     Case: 2:08-cv-00088-EAS-NMK Doc #: 1 Filed: 01/29/08 Page: 1 of 3 PAGEID #: 1




                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

Lesa Cross
690 Stanley Ave.                                    CASE NO.:
Columbus, OH 43206
                                                    JUDGE:
         Plaintiff,

v.

Weltman, Weinberg, & Reis CO., L.P.A.                     COMPLAINT FOR DAMAGES
c/o Alan Weinberg, Registered Agent                         UNDER THE FAIR DEBT
323 W. Lakeside Ave., Suite 200                          COLLECTION PRACTICES ACT
Cleveland, OH 44113                                     AND OTHER EQUITABLE RELIEF

         Defendant.                                  JURY DEMAND ENDORSED HEREIN




                                   JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collections Practices

      Act (FDCPA), 15 U.S.C. §1692. Venue is proper in this district because this is the judicial

      district where all of the events giving rise to the cause of action took place.

                                 FACTS COMMON TO ALL COUNTS

2. The Plaintiff is a person who incurred a consumer debt primarily for personal, family or

      household purposes.

3. Defendant is a corporation doing business primarily as a consumer debt collector.

4. Defendant is a debt collector as defined by the FDCPA, 15 U.S.C. §1692a(6).

5. The Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

6. The debt in question qualifies as a “debt” as defined by 15 U.S.C. §1692a(5).




                                                    1
  Case: 2:08-cv-00088-EAS-NMK Doc #: 1 Filed: 01/29/08 Page: 2 of 3 PAGEID #: 2




7. Defendant is either the holder of the debt or was retained by the current holder to collect the

   debt.

8. All of Defendant’s actions occurred within one year of the date of this Complaint.

9. In or around May or June 2007, Defendant contacted Plaintiff at work.

10. During the communication referenced immediately above, Plaintiff informed Defendant that

   Plaintiff was not permitted to receive personal telephone calls at work and requested that

   Defendant refrain from calling her at work in the future.

11. Plaintiff reiterated the above notice and request to Defendant on several occasions.

12. Despite Plaintiff’s repeated notices and requests, Defendant contacted Plaintiff at work on

   numerous occasions from June 2007 through August 2007.

13. Defendant violated the FDCPA.

                                           COUNT ONE

                      Violation of the Fair Debt Collections Practices Act

14. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

15. The Defendant violated 15 U.S.C. §1692c by calling Plaintiff at work after it was informed

   that Plaintiff did not want to receive and was not permitted to receive personal phone calls at

   work.

                                           COUNT TWO

                      Violation of the Fair Debt Collections Practices Act

16. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

17. The Defendant violated 15 U.S.C. §1692f in that its actions were unfair and/or

   unconscionable means to collect a debt.




                                                  2
  Case: 2:08-cv-00088-EAS-NMK Doc #: 1 Filed: 01/29/08 Page: 3 of 3 PAGEID #: 3




                                          JURY DEMAND

18. Plaintiff demands a trial by jury.



                                      PRAYER FOR RELIEF

19. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages pursuant to 15

                U.S.C. §1692k and costs, and reasonable attorney’s fees pursuant to 15 U.S.C.

                §1692k.

            b. For such other legal and/or equitable relief as the Court deems appropriate.



                                                RESPECTFULLY SUBMITTED,

                                                MACEY & ALEMAN


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